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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SIGNODE INDUSTRIAL GROUP LLC,

              Plaintiff,

v.                                                   Civil Action No. 2:24-cv-00080-JRG

SAMUEL, SON & CO., LTD. and SAMUEL, SON
& CO. (USA) INC. d/b/a SAMUEL PACKAGING
SYSTEMS GROUP and SAMUEL STRAPPING
SYSTEMS,

               Defendants.


          DEFENDANTS’ NOTICE OF DESIGNATION OF LEAD ATTORNEY

       Pursuant to Local Rule CV-11(a), Defendants’ file this Designation of Lead Attorney and

hereby notify the Court that Michael R. Houston of the law firm Foley & Lardner LLP, 321 North

Clark Street, Suite 3000, Chicago, IL 60654, should be designated as lead attorney for Defendants

in the above-referenced matter. All pleadings, discovery, correspondence and other material

should be served upon counsel at the address referenced above.
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  Dated: June 10, 2024                 /s/ Melissa R. Smith
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic service are being served today, June 10, 2024, with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                    /s/ Melissa R. Smith
